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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO
                           Bankruptcy Judge Joseph G. Rosania, Jr.


    In re:
                                                Bankruptcy Case No. 23-13858-JGR
    SANDRA ROSEMARY OLDENBURG,
    LEE MICHAEL OLDENBURG,                      Chapter 13

    Debtor(s).


    PNC BANK, NATIONAL ASSOCIATION,

    Movant,
    v.

    SANDRA ROSEMARY OLDENBURG,
    LEE MICHAEL OLDENBURG,
    ADAM M. GOODMAN, Chapter 13
    Trustee,

    Respondent(s).

               ORDER AND NOTICE VACATING PRELIMINARY HEARING

         IT IS HEREBY ORDERED AND NOTICE IS HEREBY GIVEN that the
  preliminary hearing regarding the Movant’s Motion for Relief from Stay (Docket
  #57) scheduled for Tuesday, March 19, 2024 at 1:00 p.m., Courtroom B, U.S.
  Bankruptcy Court, U.S. Custom House, 721 19th Street, Denver, Colorado, is
  hereby VACATED, based on the Movant’s Notice of Withdrawal of Motion filed on
  February 22, 2024 (Docket #74).

             Dated this 23rd day of February, 2024.

                                              BY THE COURT:


                                              _____________________________
                                              Joseph G. Rosania, Jr.,
                                              United States Bankruptcy Judge
